 

Case: 1:08-cv-02128 Document #: 19 Filed: 06/13/08 Page 1 of 2 PagelD #:338

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
FEDERAL INSURANCE COMPANY,

Plaintiff, Case No. 08 C 2128

V.

QUINCY BIOSCIENCE, LLC and MARY

ANN RIKSCHEIM, Magistrate Judge Nolan

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) Judge Mathew F. Kennelly

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Defendants. )
DEFENDANT QUINCY BIOSCIENCE, LLC’S AGREED MOTION
FOR AN ENLARGEMENT OF TIME TO ANSWER OR OTHERWISE
PLEAD TO PLAINTIFF’S AMENDED COMPLAINT

Defendant Quincy Bioscience, LLC (“Quincy” or “Defendant”), by its attorneys, Ice
Miller LLP, and pursuant to Rule 6(b)(1) of the Federal Rules of Civil Procedure, moves the
Court for an enlargement of the time to answer or otherwise plead. In support of its Motion,
Quincy states as follows:

1. As reported to the Court at the status hearing on Thursday, June 12, 2008, the
parties in the underlying case to this insurance coverage case are currently engaged in settlement
negotiations. If the underlying case settles and is dismissed, then this case will likewise be
dismissed. In light of these facts, the Court continued the initial status conference for the case to
July 8, 2008 at 9:00 a.m.

2. Currently, Defendant’s responsive pleading is due on June 16, 2008.

3. Defendants would like an extension to answer or otherwise plead to Plaintiff’s
Complaint pending the settlement discussions, and therefore respectfully requests to and until
July 8, 2008 to file its responsive pleading.

4, Counsel for Quincy spoke to counsel for Plaintiff and counsel for Plaintiff has no

objection to an enlargement of time for Quincy to file a responsive pleading to Plaintiffs

Amended Complaint to and until July 8, 2008.
 

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5. No prejudice to any party will result from granting Quincy’s Motion.

FOR THE FOREGOING REASONS, Defendant Quincy Bioscience, LLC respectfully

requests that the Court grant it until July 8, 2008 to answer or otherwise plead to Plaintiff's

Amended Complaint.

Bart Murphy (ARDC No. 06181178)
ICE MILLER LLP

2300 Cabot Drive, Suite 455

Lisle, Illinois 60532

(630) 955-0555

Joan G. Ritchey (ARDC No. 06275776)
ICE MILLER LLP

200 West Madison, Suite 3500
Chicago, Illinois 60606

(312) 726-1567

QUINCY BIOSCIENCE, LLC

 

By: __/s/ Joan G. Ritchey
One of Its Attorneys
